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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    VESTTOO LTD., et al.1                                     Case No. 23-11160 (MFW)

                                     Debtors.                 (Jointly Administered)

                                                              Related D.I. 9

     ORDER APPOINTING EPIQ CORPORATE RESTRUCTURING, LLC AS CLAIMS
         AND NOTICING AGENT EFFECTIVE AS OF THE PETITION DATE

             Upon consideration of the application (the “Application”)2 of Vesttoo Ltd. and its affiliated

debtors and debtors in possession in the above-captioned chapter 11 cases (collectively, the

“Debtors”) for entry of an order, pursuant to 28 U.S.C. § 156(c), section 105(a) of the Bankruptcy

Code, Bankruptcy Rule 2002, and Local Rule 2002-1(f), appointing Epiq Corporate Restructuring,

LLC (“Epiq”) as the Claims and Noticing Agent in the Chapter 11 Cases, effective as of the

Petition Date, to, among other things, (i) distribute required notices to parties in interest, (ii)

receive, maintain, docket, and otherwise administer the proofs of claim filed in the Chapter 11

Cases, and (iii) provide such other administrative services as required by the Debtors that would

fall within the purview of services to be provided by the Clerk’s office, all as more fully set forth

in the Application; and this Court having jurisdiction to consider the Application and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated February 29,

2012; and consideration of the Application and the requested relief being a core proceeding


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         Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/vesttoo.
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        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Application.
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pursuant to 28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Application having been provided under the

circumstances, and it appearing that no other or further notice need be provided; and upon the First

Day Declaration and the Tran Declaration; and this Court having determined that the legal and

factual bases set forth in the Application establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Application is GRANTED, as set forth in this Order.

        2.      Notwithstanding the terms of the Retention Agreement attached to the Application,

the Application is granted solely as set forth in this Order and solely with respect to the Claims

Management and Noticing services set forth in the Services Schedule attached to the Retention

Agreement.

        3.      Pursuant to 28 U.S.C. § 156(c), section 105(a) of the Bankruptcy Code, Bankruptcy

Rule 2002, and Local Rule 2002-1(f), the Debtors are authorized to retain Epiq as Claims and

Noticing Agent in the Chapter 11 Cases, effective as of the Petition Date, under the terms of the

Retention Agreement, and Epiq is authorized and directed to perform the Claims and Noticing

Services and to receive, maintain, record, and otherwise administer the proofs of claim filed in the

Chapter 11 Cases, and perform all related tasks as set forth in the Application.

        4.      Epiq shall serve as the custodian of court records and shall be designated as the

authorized repository for all proofs of claim filed in the Chapter 11 Cases, and is authorized and

directed to maintain the official Claims Register for the Debtors, to provide public access to every

proof of claim unless otherwise ordered by this Court, and to provide the Clerk with a certified

duplicate thereof upon request of the Clerk.



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       5.      Epiq is authorized and directed to obtain a post office box or address for the receipt

of proofs of claim.

       6.      Epiq is authorized to take such other actions as required to comply with all duties

set forth in the Application and this Order.

       7.      Epiq shall comply with all requests of the Clerk and the guidelines promulgated by

the Judicial Conference of the United States for the implementation of 28 U.S.C. § 156(c).

       8.      Without further order of this Court, the Debtors are authorized to compensate Epiq

in accordance with the terms and conditions of the Retention Agreement upon receipt of

reasonably detailed monthly invoices setting forth the services provided by Epiq and the rates

charged for each, and to reimburse Epiq for all reasonable and necessary expenses it may incur,

upon the presentation of appropriate documentation, without the need for Epiq to file fee

applications or otherwise seek Court approval for the compensation of its services and

reimbursement of its expenses as the Claims and Noticing Agent.

       9.      Epiq shall maintain records of all services showing dates, categories of services,

fees charged, and expenses incurred, and shall serve monthly invoices on the Debtors, the Office

of the United States Trustee for the District of Delaware, counsel for the Debtors, counsel for any

statutory committee, and any party in interest that specifically requests service of the monthly

invoices.

       10.     The parties shall meet and confer in an attempt to resolve any dispute that may arise

relating to the Retention Agreement or monthly invoices, and the parties may seek resolution of

the matter from this Court if resolution is not achieved.




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       11.     Pursuant to section 503(b)(1)(A) of the Bankruptcy Code, Epiq’s fees and expenses

incurred in connection with the Claims and Noticing Services shall be an administrative expense

of the Debtors’ chapter 11 estates.

       12.     Epiq may apply its retainer to all prepetition invoices, which retainer shall be

replenished to the original retainer amount of $25,000, and thereafter, Epiq may hold its retainer

under the Engagement Agreement during the Chapter 11 Cases as security for payment of Epiq’s

final invoice for services rendered and expenses incurred under the Engagement Agreement.

       13.     The Debtors are authorized to indemnify Epiq under the terms of the Retention

Agreement, subject to the following modifications:

               a. Epiq shall not be entitled to indemnification, contribution, or reimbursement
                  pursuant to the Retention Agreement for services other than the Claims and
                  Noticing Services provided under the Retention Agreement, unless such
                  services and the indemnification, contribution, or reimbursement therefor are
                  approved by this Court;

               b. Notwithstanding anything to the contrary in the Retention Agreement, the
                  Debtors shall have no obligation to indemnify Epiq, or provide contribution or
                  reimbursement to Epiq, for any claim or expense that is either: (i) judicially
                  determined (the determination having become final) to have arisen from Epiq’s
                  gross negligence, willful misconduct, or fraud; (ii) for a contractual dispute in
                  which the Debtors allege the breach of Epiq’s contractual obligations if this
                  Court determines that indemnification, contribution, or reimbursement would
                  not be permissible pursuant to In re United Artists Theatre Co., 315 F.3d 217
                  (3d Cir. 2003); or (iii) settled prior to a judicial determination under (i) or (ii),
                  but determined by this Court, after notice and a hearing, to be a claim or expense
                  for which Claims and Noticing Agent should not receive indemnity,
                  contribution, or reimbursement under the terms of the Retention Agreement as
                  modified by this Order;

               c. If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
                  the Chapter 11 Cases (that order having become a final order no longer subject
                  to appeal) or (ii) the entry of an order closing the Chapter 11 Cases, Epiq
                  believes that it is entitled to the payment of any amounts by the Debtors on
                  account of the Debtors’ indemnification, contribution, and/or reimbursement
                  obligations under the Retention Agreement (as modified by this Order),
                  including the advancement of defense costs, Epiq must file an application
                  therefor in this Court, and the Debtors may not pay any such amounts to Epiq
                  before the entry of an order by this Court approving the payment. This

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                   paragraph is intended only to specify the period of time under which this Court
                   shall have jurisdiction over any request for fees and expenses by Epiq for
                   indemnification, contribution, or reimbursement, and not a provision limiting
                   the duration of the Debtors’ obligation to indemnify Epiq. All parties in interest
                   shall retain the right to object to any demand by Epiq for indemnification,
                   contribution, or reimbursement.

       14.     Notwithstanding anything to the contrary in the Retention Agreement, during the

Chapter 11 Cases, the limitation of liability contained in paragraph 8 of the Agreement shall be

given no effect.

       15.     In the event Epiq is unable to provide the Claims and Noticing Services, Epiq shall

immediately notify the Clerk and the Debtors’ counsel and cause all original proofs of claim and

computer information to be turned over to another claims and noticing agent with the advice and

consent of the Clerk and the Debtors’ counsel.

       16.     The Debtors may submit a separate retention application, pursuant to section 327

of the Bankruptcy Code and/or any applicable law, for services that are to be performed by Epiq

but are not specifically authorized by this Order.

       17.     Epiq shall not cease providing Claims and Noticing Services during the Chapter 11

Cases for any reason, including nonpayment, without an order of this Court.

       18.     In the event of any inconsistency between the Retention Agreement, the

Application, and this Order, this Order shall govern.




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        19.     The Debtors and Epiq are authorized to take all action necessary to effectuate the

relief granted in this Order.

        20.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, or enforcement of this Order.




Dated: August 23rd, 2023                              MARY F. WALRATH
Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE
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